                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

Laura Ewing,                                 )
                                             )
         Plaintiff,                          )
                                             )
         v.                                  )      No.   1:18-cv-1743-JRS-DML
                                             )
Med-1 Solutions, LLC,                        )
                                             )
         Defendant.                          )

                               PLAINTIFF’S MOTION FOR
                      EXTENSION OF TIME TO COMPLETE DISCOVERY

         Plaintiff, Laura Ewing, hereby moves this Court for a 21-day extension of time in

which to complete discovery, specifically to take depositions, and in support thereof,

state:

         1.      The Complaint in this matter was filed on June 8, 2018, alleging that

Defendant Med-1 Solutions, LLC’s (“Med-1”) collections actions violated the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). (Dkt. 1). A Case

Management Plan was approved on August 8, 2019. (Dkt. 18). On September 24, 2018,

this matter was re-assigned to this Court. (Dkt. 20).

         2.      On March 21, 2019, the parties filed a joint motion to stay this matter,

pending the United States Supreme Court’s ruling in Rotkiske v. Klemm, No. 18-328

(Dkt. 33), which this Court granted on March 26, 2019. (Dkt. 34).

         3.       After a decision was issued in Rotkiske, see, Rotkiske v. Klemm, 140

S.Ct. 355 (2019), an Amended Case Management Plan was filed on February 11, 2020

(Dkt. 37), and approved as amended on February 14, 2020. (Dkt. 38) Fact Discovery

was set to close in this matter on April 19, 2020, and dispositive motion are due by June

19, 2020. (Dkt. 38).
       4.     When the Amended CMP was approved in this matter on February 14,

2020, the Court shortened the parties’ proposed dates by 49 days, due to the parties’

failure to submit the amended case management plan in a timely manner, as set forth in

the Court’s prior order granting the stay, see, Dkt. 38, 34. At that time, the devastating

impact of the COVID-19 pandemic in this country was not readily apparent.

       5.     COVID-19, as is well known, has resulted in nearly nationwide school

shutdowns, with mandatory shelter-in-place orders shutting down all non-essential

businesses. Most law firms – including Plaintiff’s counsel’s law firm – have had to move

many of their staff and attorneys to work-from-home roles, beginning in mid-March.

Indeed, the law firm representing Plaintiff has employees who are immune

compromised and must take extra precautions for their health, as well as others with

close family members with compromised immune systems and chronic illnesses, and

one partner with preschool aged children who has been forced to homeschool while

working due to the COVID-19 pandemic. Thus, it was extremely difficult to finish

conducting discovery in this matter, including scheduling depositions.

       6.     On April 13, 2020, Plaintiff’s counsel emailed Defendant’s counsel, asking

if Defendant would agree to an extension of the discovery deadline in this matter; on

April 14, 2020, Defendant declined to do so. Plaintiff’s counsel then asked Defendant to

schedule depositions at the end of this week, before the close of discovery; Defendant

likewise refused to do so, citing S.D.Ind.Local Rule 30-1. Local Rule 30-1(d) provides

that: “Unless agreed by counsel or otherwise ordered by the court, no deposition will be

scheduled on less than 14 days notice.” Thus, Defendant’s counsel could agree to

produce its witnesses for deposition, on less than 14 days notice, but chooses not to do

so.

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       7.     Pursuant to Local Rule 6-1(a)(4)(B), on April 13 2020 and April 14, 2020,

Plaintiff’s counsel, David J. Philipps, corresponded with Defendant’s counsel, Nicolas

Moline, via email, regarding whether Defendant would agree to this extension.

Defendant opposes the request.

       8.     Thus, Plaintiff requests that this Court grant her a 21-day extension of time

in which to take the depositions of Defendant, pursuant to Fed.R.Civ.P. Rule 30(b)(6),

as well as three additional fact witnesses who are employees of Defendant.

Arrangements can be made with the court reporting service to take these depositions

telephonically, and maintain all necessary social distancing protocols, as required

during the COVID-19 pandemic.

       9.     Granting this motion will not affect the summary judgement deadline of

June 19, 2020, nor the trial date (which has not yet been set).

       WHEREFORE, Plaintiff requests that this Court grant a 21-day extension of time

in which to finish fact discovery in this matter.

                                                    Respectfully submitted,

                                                    Laura Ewing,

                                                    By: /s/David J. Philipps__________
                                                    One of Plaintiff’s Attorneys
Dated: April 14, 2020




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                            CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2020 a copy of the foregoing Plaintiff’s Motion
For Extension Of Time To Complete Discovery was filed with the District Court.
Notice of this filing will be sent to the following parties by operation of the Court’s
electronic filing system. Parties may access this filing through the Court’s system.


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